           The Hon. Robert D. Drain
           October 8, 2020
           Page 1



                                                                         October 8, 2020

           VIA CM/ECF
           The Honorable Robert D. Drain
           United States Bankruptcy Judge
           United States Bankruptcy Court
           Southern District of New York
           300 Quarropas St.
           White Plains, NY 10601

                             Re:     Marlaina Koller Croes (20-22239-rdd) — Proposed Bar Date Order
                                     [Doc. Nos. 54-55, 57 & 66]

           Dear Judge Drain:

                        We are counsel to Marlaina Koller Croes (the “Debtor”), the debtor and debtor-in-
           possession in the above-referenced matter.

                         On July 20, 2020, we noticed for presentment, the Debtor’s Application For Order
           (i) Establishing the Deadline for Filing Proofs of Claim; and (ii) Approving the Form and
           Manner of Notice Thereof [Doc. Nos. 54-55] (the “Application”). Attached to the Application
           as Exhibit A was a proposed Order (the “Proposed Order”) [Doc. No. 54-1] granting the relief
           sought therein. A proposed Bar Date Notice was annexed to the Application as Exhibit B.

                         Pursuant to the Notice of Presentment, and in accordance with the Federal Rules
           of Bankruptcy Procedure (the “Bankruptcy Rules”) and the Local Bankruptcy Rules for the
           Southern District of New York, objections to the Application and the relief requested therein
           were to be filed and served, so as to be received no later than July 31, 2020 at 5:00 p.m.

                        We neglected to timely submit the Proposed Order to Chambers. On September
           14, 2020, we filed a Certificate of No Objection [Doc. No. 66] with respect to the Application,
           and submitted a copy of a revised proposed order to Chambers for signature. The revision of
           the order was made to comply with the notice requirements of Bankruptcy Rule 2002(a)(7).

                        Unfortunately, it appears your Chambers has not had an opportunity to process the
           revised proposed order. Therefore, we write to submit a second revised proposed order, a copy
           of which is annexed hereto as Exhibit A, and a second revised Bar Date Notice, a copy of which
           is annexed hereto as Exhibit C.1 The second revised proposed order merely further extends the

1
    Redline copies marked against the versions filed with the Application are annexed hereto as Exhibits B & D.
The Hon. Robert D. Drain
October 8, 2020
Page 2



proposed bar date so that we can afford creditors an adequate opportunity to file proofs of claim.
If acceptable, we kindly request that the second revised proposed order be entered, and
apologize for any inconvenience our delay may have caused.

       We thank the Court in advance for its time and consideration.


                                              Respectfully,

                                              /s/ Sanford P. Rosen
                                                  Sanford P. Rosen



SPR/clm


cc: Greg M. Zipes, Esq. (via email)
